       Case 1:02-cv-12489-RWZ Document 1380 Filed 07/23/19 Page 1 of 5



                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


                          CIVIL ACTION NO. 1:02-12489-RWZ
                          CIVIL ACTION NO. 1:05-10079-RWZ


                                  GLOBAL NAPS, INC.

                                            v.

                            VERIZON NEW ENGLAND, INC.


                             MEMORANDUM AND ORDER

                                      July 23, 2019

ZOBEL, S.D.J.

       In May 2010, the court appointed Carl F. Jenkins as receiver of the assets of the

judgment debtors, including Frank Gangi, for the ultimate purpose of satisfying an

outstanding judgment for Verizon New England, Inc. in the amount of $57,716,714. To

this end, the court authorized the receiver to identify, safeguard and preserve all

property and interests of the judgment debtors. In July 2015, and February 2017,

respectively, it approved the receiver’s Interim and Final Accountings and instructed the

receiver to prepare a Final Supplemental Accounting covering the receivership’s post-

December 1, 2015, activities. The receiver now moves for approval of this Final

Supplemental Accounting and requests discharge. The court received Mr. Gangi’s

written objections to the motion and held a hearing. The receiver’s motion (Docket #

1365) is ALLOWED, in accordance with the following findings and rulings.

       1.     Final Supplemental Accounting and Final Supplemental Narrative
       Case 1:02-cv-12489-RWZ Document 1380 Filed 07/23/19 Page 2 of 5



       Mr. Gangi objects to the Final Supplemental Accounting, citing a perceived lack

of transparency in the transaction history. Mr. Gangi made similar objections to each of

the receiver’s previous accountings, each of which objections the court overruled after

hearing and upon finding that the receiver’s accountings were adequate and the

underlying methodology was sound. See Docket ## 1254, 1316. The receiver’s

identical accounting methodology evidencing the receipts and expenses incurred and

paid in administering the receivership estate from and after December 1, 2015 is

therefore approved. The court also credits the receiver’s representation that, at Mr.

Gangi’s request, he has shared copies of all non-privileged supporting invoices.

Accordingly, the Final Supplemental Accounting and accompanying Final Supplemental

Narrative are also herewith approved.

       2.     Disbursement of Remaining Receivership Funds

       With his motion, the receiver has included the proposed pro rata list of claimants

to participate in the final distribution of funds, which the court has already approved in

the course of approving a settlement agreement between the receiver, Verizon, USAC

and Amtrak (hereinafter, the “settlement agreement”). See Docket ## 1311, 1311-2,

1315, 1365-3. The receiver is, therefore, authorized to make a final distribution of

funds to approved claimants pro rata in accordance with the settlement agreement,

after deducting and paying the expenses incurred in the administration of the

receivership estate. The timing of the distribution to claimants is subject to the final

disposition of all appeals of this order. The receiver is also authorized to enter a stop




                                             2
       Case 1:02-cv-12489-RWZ Document 1380 Filed 07/23/19 Page 3 of 5



payment order on any checks or funds that remain outstanding sixty (60) days after the

final distribution. Any remaining undistributed funds shall be paid to Verizon.

       3.     Books and Records of the Receivership

       Upon his appointment, the receiver took possession of financial and other

historic books and records then maintained by judgment debtors and the several

GNAPs-related entities (“Historic Records”). He also created and maintained records

related to his administration of the receivership (“Receivership Records”). The receiver

requests authorization to permanently dispose of the Historic and Receivership Records

once he is discharged, whereas Mr. Gangi objects and requests that the receiver

maintain them for at least three years.

       One month after either the final disposition of all appeals of this order, or the

lapse of the deadline to file such appeals, the receiver (1) may permanently dispose of

the Receivership Records, and (2) shall return to Mr. Gangi all Historic Records, which

Mr. Gangi shall receive at the receiver’s then storage facility. If Mr. Gangi fails or

refuses to accept the Historic Records, the receiver may dispose of them.

       4.     Indemnification of the Receiver

       The order appointing the receiver indemnifies him for actions taken in the course

of the receivership. The receiver seeks formal reaffirmation of this indemnification upon

his discharge, but Mr. Gangi objects to any statement of prospective immunity.




                                              3
       Case 1:02-cv-12489-RWZ Document 1380 Filed 07/23/19 Page 4 of 5



       The prior order specifies that the receiver “shall have no personal liability for his

acts or omissions as Receiver other than gross negligence or willful misconduct” and

correspondingly indemnifies and holds the receiver harmless “for any loss or liability of

any nature whatsoever . . . except as to any act or omission determined by the court to

be gross negligence or willful misconduct.” Docket # 624 ¶ 10. This provision reflects a

defining feature of receiverships: as fiduciaries of the court, receivers are generally only

liable in an official—but not personal—capacity for actions taken within the scope of

their authority, and recourse therefore must be taken against the assets of the

receivership estate.

       The receiver’s liability for actions taken in the course of the receivership up to the

time of his discharge will continue to be defined and limited by the language of the

order appointing him. Thus, the indemnity and hold harmless clauses will continue to

apply to all pre-discharge receivership activities, including any post-discharge

challenges to such activities. Once discharged, however, the receiver’s duties and

authority cease, and he may no longer act in an official capacity.

       I find no fault with the manner in which the receiver has carried out his duties

from the time of his appointment to the present, and further find that he has consistently

acted in good faith.

       5.     Assignment of Remaining Assets

       The receiver has made a reasonable business judgment that keeping the

receivership open for purposes of attempting to collect funds from Reynwood or waiting



                                              4
       Case 1:02-cv-12489-RWZ Document 1380 Filed 07/23/19 Page 5 of 5



for the payment of a dividend from the Unipoint bankruptcy is not in the best interest of

the receivership estate. He also rightly remains concerned about any other assets that

have not been disclosed during the course of the receivership, but that might be

available to satisfy, in whole or in part, the judgment.

       The receiver is hereby authorized to assign the remaining known and unknown

assets to the judgment creditor, Verizon (or its designee), without further order of the

court. Mr. Gangi’s objection to Verizon’s possession of the assets is noted and

overruled. To the extent Verizon does not accept any monetized or unmonetized

assets, the receiver shall return those assets to Mr. Gangi without further court order.

       6.     Discharge of Receiver

       The receiver shall be discharged from his duties and obligations as receiver

upon his filing of a declaration attesting to his compliance with this order.

       The court will retain jurisdiction over any matter or dispute resulting from the

original receivership order and this order.




      July 23, 2019                                        /s/ Rya W. Zobel
            DATE                                       RYA W . ZOBEL
                                           SENIOR UNITED STATES DISTRICT JUDGE




                                              5
